Did the respondent under the law have a duty to perform in filing and proving the claim of Rosebud county with the receiver of the Rosebud State Bank? We contend that such was his duty at some time during the seven months in which he occupied the office of county treasurer, before the expiration of the ten months' notice to file and prove the claim.
The money having been deposited in the insolvent bank, in conformity with law, the county was a general creditor of the bank. (City of Livingston v. Woods, 20 Mont. 91, 49 P. 437;Yellowstone County v. First Trust  Sav. Bank, 46 Mont. 439,128 P. 596.) It necessarily follows that the county, through some proper official, was required to present the claim with proper proof in order that it might participate in the dividends of the bank. (Halsted v. Forest Hill Co., 109 Fed. 820;Meding v. Todd, 56 N.J. Eq. 820, 41 A. 222; 34 Cyc. 341-343.) The county treasurer is the custodian of the county funds. It is his duty to receive all moneys belonging to it and all other property by law to be paid to him, safely keep the same, and apply and pay them out, rendering account thereof as required by law, and he can disburse these funds only upon warrants based upon orders of the board of county commissioners, or as otherwise provided by law. (Sec. 4750, Rev. Codes 1921.) He alone has authority to pay out county funds when they have been placed in the depository. (State v. Boles, 74 Mont. 54,238 P. 586.) If he deposits the county funds in accordance with the statute (sec. 4767, Rev. Codes 1921, as amended by Sess. Laws 1929, *Page 77 
p. 80), he is relieved of all damages other than "his own neglect, fraud or dishonorable conduct." He is still chargeable with all acts other than those specifically stated in the law. (Buhl Highway Dist. v. Allred, 41 Idaho, 54, 238 P. 298.) As custodian of the funds, he is trustee of an express trust for the use of the public. (Carbon County v. Draper, 84 Mont. 413,276 P. 667; McClure v. LaPlata County, 19 Colo. 122,34 P. 763; 46 C.J. 1038.) The trustee of an express trust is charged with the duty of doing all necessary things requisite to the protection of the trust property. It would seem inevitable that, since it is necessary to make this proof of claim in order to participate in the dividends, the trustee of the funds in the insolvent bank must make this proof. This necessarily follows unless the statute makes it the duty of some other official. We find no law charging any other official with any duty relative to the conservation of the public funds. We submit that the treasurer is charged with the duty to present and prove the claim in the receivership matter and having failed, is answerable upon his official bond in this action.
This suit was brought by Rosebud county against the defendant Smith as treasurer of the county, and Federal Surety Company, the surety upon his official bond. A demurrer to plaintiff's amended complaint (alluded to hereafter as the complaint) was sustained, with leave to amend, which plaintiff failed to do, and in due time judgment was entered for defendants. Thereupon plaintiff appealed.
The facts briefly stated are these: The Rosebud State Bank, a corporation under the laws of this state, had been designated a depository of county funds by the board of county commissioners of Rosebud county; in order to be designated *Page 78 
a depository the bank had executed to the county an indemnity bond, called a depository bond, for the safekeeping of the county moneys and for their return upon demand, in the sum of $40,000, which was signed by the bank as principal with five sureties who bound themselves respectively as follows: One for $15,000, one for $10,000, and three for $5,000 each. The bond was approved on the eighth day of July, 1926. On August 6, 1926, the superintendent of banks found the Rosebud State Bank insolvent and closed its doors. It had on deposit at that time county moneys protected by the depository bond to the extent of $37,536.35. There was also collateral for the deposit which was held by the county, $8,240.38 in warrants, being the property of the bank. After applying the principal sum of the warrants, together with interest, the bank owed to the county the sum of $28,726.23, which amount it still owes, together with interest.
On November 12, 1926, the court, upon proper proceedings had, appointed a receiver for the bank. On August 21, 1926, the sureties upon the depository bond met with the board of county commissioners at a meeting called for that express purpose, at which all of the commissioners were present, and an agreement was made between the parties that, in lieu of a suit and attachment upon the bond, Rosebud county would accept their promissory notes, secured by real estate mortgages, as security for the funds deposited in the bank belonging to Rosebud county in lieu of the bond. Pursuant to the agreement, the bondsmen, together with their wives, executed to Rosebud county "their promissory notes duly secured by real estate mortgages upon their real estate for the full amount of their liability on said bond for the purpose of giving security for the protection of Rosebud county, Montana, and to avoid the necessity and expense of a suit and attachment on said bond." The notes and mortgages were accepted by Rosebud county "subject to credit for all dividends to be paid to Rosebud county, Montana, from the liquidation affairs of said Rosebud State Bank," and with the agreement that the county "would apply all dividends received by said county *Page 79 
and paid direct to the county treasurer," as indorsements and payments upon the promissory notes of the bondsmen.
The receiver, pursuant to an order of the district court, published in a weekly newspaper of general circulation, printed and published at Forsyth, a notice to creditors to the effect that all persons having claims against the Rosebud State Bank should exhibit them, with the necessary vouchers, within ten months after the first publication of the notice, to the receiver at his office at the Rosebud State Bank. The notice was first published on December 2, 1926.
The record does not disclose who the treasurer of Rosebud county was prior to the 7th of March, 1927, but at the general election held in November, 1926, the defendant Smith was elected. Thereafter he qualified and took office on March 7, 1927. No one in behalf of Rosebud county presented a claim against the bank for the sum of $28,726.23 which had been deposited therein. After the ten months had gone by the receiver declared and paid several dividends to the claimants who had proven their claims pursuant to the notice published by him. But nothing was paid to the county.
It is charged that the defendant Smith as treasurer did negligently and carelessly fail to file the claim and prove the same in conformity with the notice of the receiver, and it is in effect alleged, that if he had presented and proved the claim, the county would have received payments from the receiver amounting to $9,019.13, together with interest thereon. Demand has been made upon the treasurer for the payment of that sum of money, and it is alleged that he and his surety are liable for that sum, and it is said there is no way now in which Rosebud county can recover that sum of money, save and except as a result of this litigation; and that Rosebud county must give to the bondsmen upon their promissory notes credits for the dividends, notwithstanding the fact that Rosebud county has never received the same.
The defendant Smith demurred to the complaint on the grounds that it does not state facts sufficient to constitute a cause of action, and that there is a defect of parties defendant, *Page 80 
in that defendant's predecessor in office failed to file or prove any claim for the moneys referred to in the complaint, and that if any liability exists for such failure, his predecessor, together with the surety or sureties upon his official bond, are equally liable with the defendants and should be made parties defendant in the cause.
The surety company demurred on the ground that there is a misjoinder of parties defendant named in the complaint, for that (a) it appears upon the face thereof that the surety company is liable only for the failure or neglect of Smith as treasurer to faithfully perform all official duties required of him by law at the time of the making of the bond in plaintiff's complaint set forth, and such additional duties as may be imposed on him by any law subsequently enacted, and for the failure or neglect of Smith as treasurer to account for and pay over and deliver to the person or officer entitled to receive the same all moneys or other property that may come into his hands as such treasurer, and (b) that there is not now and never has been during the times mentioned in plaintiff's complaint any provision of law requiring the defendant Smith as treasurer to file or prove any claim for county moneys deposited with insolvent banks; and it appears upon the face of plaintiff's complaint that the moneys sought to be recovered from the defendant herein never came into the hands of the defendant treasurer. The demurrer also set forth the defect of parties defendant as alleged by the defendant Smith. Also, the surety company alleged that the complaint does not state facts sufficient to constitute a cause of action.
The Constitution provides, Article XVI, section 5, that: "There shall be elected in each county the following officers: * * * one treasurer, who shall be collector of taxes. * * *" The specific duties of the treasurer are prescribed in sections 1996 to 2443, inclusive, and sections 4750 to 4772, inclusive, of the Revised Codes of 1921. A careful examination of these provisions shows that they do not specifically impose upon the treasurer any duty to present a claim *Page 81 
to the receiver of an insolvent depository bank for county moneys deposited therein pursuant to section 4767, as amended. (Seepost.)
The treasurer of the county is a ministerial officer. He has[1]  no authority other than that conferred on him by statute, either expressly or impliedly, and he is not required to perform any duties not imposed on him by law. (15 C.J. 511.)
Before the enactment of Chapter 88 of the Laws of 1913, amending section 3003 of the Revised Codes of 1907, the treasurer would have been liable upon his official bond for the loss of county moneys deposited by him in a bank. Section 3003, as amended, after becoming section 4767, Revised Codes of 1921, was again amended by Chapter 89 of the Laws of 1923.
We have had occasion to pass upon the duties of a treasurer[2, 3]  concerning the deposit of county moneys since the 1923 amendment. In State ex rel. School District No. 4, RosebudCounty v. McGraw, 74 Mont. 152, 240 P. 812, we held that on the deposit of moneys by the treasurer in a designated depository bank the county becomes merely a general creditor of the bank (citing Bignell v. Cummins, 69 Mont. 294, 36 A.L.R. 634, 222 P. 797), and that after the treasurer makes the deposit he is no longer the custodian thereof. He is in fact merely the instrumentality through which the county deposits money in the bank and withdraws it therefrom, disbursing the same only on county warrants issued by the county clerk "based on orders of the board of county commissioners, or as otherwise provided by law." (Sec. 4750, subd. 5, Rev. Codes 1921.)
It is the duty of the county treasurer to "receive all moneys belonging to the county, and all other moneys by law directed to be paid to him, safely keep the same, and apply and pay them out, rendering account thereof as required by law," according to subdivision 1 of section 4750, supra. But as the law now stands the treasurer may deposit the county funds only in a bank designated by the board of county commissioners, first requiring an indemnity bond, or other prescribed *Page 82 
security, which must be accepted and approved by the board. If he deposits funds otherwise, he does so unlawfully (YellowstoneCounty v. First Trust  Savings Bank, 46 Mont. 439,128 P. 596), and is liable upon his official bond. If he complies with the law and the money is lost, he is not liable. In such cases he is liable only through his own neglect, fraud, or dishonorable conduct. (See County of Missoula v. Lochrie, 83 Mont. 308,271 P. 710; State ex rel. Rankin v. Madison State Bank,77 Mont. 498, 251 P. 548; State v. Rosman, 84 Mont. 207, 214,274 P. 850; and see City of Billings v. MassachusettsBonding  Insur. Co., 88 Mont. 91, 290 P. 246.)
Whether material or not, the moneys involved here never came into the possession of the defendant Smith as treasurer. When he took over the office from his predecessor, the bank was in the hands of the receiver.
Section 4761 provides that each county treasurer must make a detailed report at every regular meeting of the board of county commissioners of all moneys received by him and the disbursement thereof, "and of all debts due to and from the county, and of all other proceedings in his office, so that the receipts into the treasury and the amount of disbursements, together with the debts due to and from the county, may clearly and distinctly appear." The presumption is that he made the reports required by this section, and that the board of county commissioners knew at all times the conditions respecting the county deposits and the debts due to and from the county.
There is nothing in any of these statutes which requires the treasurer to present a claim to the receiver of an insolvent bank for moneys owing to the county by the bank.
As noted above, the treasurer was not the custodian of the[4]  money in the bank. The board of county commissioners had directed the treasurer to deposit the county moneys therein, and he had done so. The county commissioners, the executive board of the county, had authority to present the claim to the receiver, and it is not to be doubted that they *Page 83 
had the right to designate an officer to make the claim in behalf of the county. They could, by proper order, have authorized the county clerk, who is the clerk of the board, or the treasurer, or the county attorney, to present the claim. They did not authorize either of them to do so.
If they had insisted upon the payment of the depository bond given by the bank, the bondsmen, having paid the amount due the county, would have been subrogated to the rights of the county, and themselves could have presented the claim to the receiver. Instead of compelling the immediate payment of the bond, the commissioners entered into a new arrangement with the bondsmen and did not take any steps to see that a claim was presented to the receiver for the amount of the deposits due the county. They now seek to establish as a legal proposition that the treasurer was in duty bound to have presented the claim. We do not find any law to sustain their position, and are satisfied that the district court was right in holding that the complaint does not state a cause of action.
The judgment is affirmed.
ASSOCIATE JUSTICES GALEN, FORD, ANGSTMAN and MATTHEWS concur. *Page 84 